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     United States of America
7

8                                   IN THE UNITED STATES DISTRICT COURT

9                                      EASTERN DISTRICT OF CALIFORNIA

10

11                                                         CASE NO. 5:20-MJ-00009-JLT
     UNITED STATES OF AMERICA,
12
                                                           STIPULATION FOR EXTENSION OF TIME FOR
13
                                   Plaintiff,              PRELIMINARY HEARING PURSUANT TO
                                                           RULE 5.1(d) AND EXCLUSION OF TIME
14   v.
                                                           DATE: March 30, 2020
15   MISAEL TORRES-VILLA,                                  TIME: 2:00 p.m.
                                                           COURT: Hon. Erica P. Grosjean
16
                                   Defendant.
17

18
            This case is set for a preliminary hearing on March 30, 2020. On March 16, 2020, this Court issued
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     General Order 611, which suspends all jury trials in the Eastern District of California scheduled to
20
     commence before May 1, 2020. This General Order was entered to address public health concerns related
21
     to COVID-19.
22
            Although the General Order addresses the district-wide health concern, the Supreme Court has
23
     emphasized that the Speedy Trial Act’s end-of-justice provision “counteract[s] substantive openendedness
24
     with procedural strictness,” “demand[ing] on-the-record findings” in a particular case. Zedner v. United
25
     States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-record findings, there can be no exclusion under”
26
     § 3161(h)(7)(A). Id. at 507. And moreover, any such failure cannot be harmless. Id. at 509; see also
27
     United States v. Ramirez-Cortez, 213 F.3d 1149, 1153 (9th Cir. 2000) (explaining that a judge ordering and
28
     ends-of-justice continuance must set forth explicit findings on the record “either orally or in writing”).


30   STIPLULATION
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            Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory and
2
     inexcusable—the General Order requires specific supplementation. Ends-of-justice continuances are
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     excludable only if “the judge granted such continuance on the basis of his findings that the ends of justice
4
     served by taking such action outweigh the best interest of the public and the defendant in a speedy trial.” 18
5
     U.S.C. § 3161(h)(7)(A). Moreover, no such period is excludable unless “the court sets forth, in the record
6
     of the case, either orally or in writing, its reason or finding that the ends of justice served by the granting of
7
     such continuance outweigh the best interests of the public and the defendant in a speedy trial.” Id.
8
            The General Order excludes delay in the “ends of justice.” 18 U.S.C. § 3161(h)(7) (Local Code T4).
9
     Although the Speedy Trial Act does not directly address continuances stemming from pandemics, natural
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     disasters, or other emergencies, this Court has discretion to order a continuance in such circumstances. For
11
     example, the Ninth Circuit affirmed a two-week ends-of-justice continuance following the eruption of Mt.
12
     St. Helens. Furlow v. United States, 644 F.2d 764 (9th Cir. 1981). The court recognized that the eruption
13
     made it impossible for the trial to proceed. Id. at 767-68; see also United States v. Correa, 182 F. Supp.
14
     326, 329 (S.D.N.Y. 2001) (citing Furlow to exclude time following the September 11, 2001 terrorist attacks
15
     and the resultant public emergency). The coronavirus is posing a similar, albeit more enduring, barrier to
16
     the prompt proceedings mandated by the statutory rules.
17
            In light of the societal context created by the foregoing, this Court should consider the following
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     case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-justice
19
     exception, § 3161(h)(7) (Local Code T4). If continued, this Court should designate a new date for the status
20
     conference. United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any pretrial continuance
21
     must be “specifically limited in time”).
22
                                                     STIPULATION
23
            Plaintiff United States of America, by and through its counsel of record, and defendant, by and
24
     through defendant’s counsel of record, hereby stipulate as follows:
25
            1.      By previous order, this matter was set for a preliminary hearing on March 30, 2020.
26
            2.      By this stipulation, defendant now moves to continue the preliminary hearing until April 29,
27
     2020, and to exclude time between March 30, 2020, and April 29, 2020, under Local Code T4.
28
            3.      The parties agree and stipulate, and request that the Court find the following:


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                    a)     In addition to the public health concerns cited by General Order 611 and presented by
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            the evolving COVID-19 pandemic, an ends-of-justice delay is particularly apt in this case because
3
            Counsel or other relevant individuals have been encouraged to telework and minimize personal
4
            contact to the greatest extent possible. It will be difficult to avoid personal contact should the
5
            hearing proceed.
6
                    b)     Based on the above-stated findings, the ends of justice served by continuing the case
7
            as requested outweigh the interest of the public and the defendant in a trial within the original date
8
            prescribed by the Speedy Trial Act.
9
                    c)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
10
            seq., within which trial must commence, the time period of March 30, 2020 to April 29, 2020,
11
            inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
12
            because it results from a continuance granted by the Court at defendant’s request on the basis of the
13
            Court’s finding that the ends of justice served by taking such action outweigh the best interest of the
14
            public and the defendant in a speedy trial.
15
            4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the
16
     Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
17
     must commence.
18
            IT IS SO STIPULATED.
19

20
     Dated: March 25, 2020                                      McGREGOR W. SCOTT
21
                                                                United States Attorney

22                                                              /s/ ANGELA L. SCOTT
                                                                ANGELA L. SCOTT
23                                                              Assistant United States Attorney
24
                                                                /s/ ANTHONY YIM
25                                                              ANTHONY YIM
                                                                Assistant United States Attorney
26
     Dated: March 25, 2020                                      /s/ Virna L. Santos
27                                                              VIRNA L. SANTOS
                                                                Counsel for Defendant
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                                                                MISAEL TORRES-VILLA


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5
                                   IN THE UNITED STATES DISTRICT COURT
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                                       EASTERN DISTRICT OF CALIFORNIA
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8
                                                           CASE NO. 5:20-MJ-00009-JLT
9    UNITED STATES OF AMERICA,
                                                           FINDINGS AND ORDER
10
                                  Plaintiff,               EXTENDING TIME FOR PRELIMINARY
11                                                         HEARING PURSUANT TO RULE 5.1(d) AND
     v.                                                    EXCLUDING TIME
12
     MISAEL TORRES-VILLA,                                  DATE: March 30, 2020
13                                                         TIME: 2:00 p.m.
                                  Defendant.               COURT: Hon. Erica P. Grosjean
14

15
            The Court has read and considered the Stipulation for Extension of Time for Preliminary Hearing
16
     Pursuant to Rule 5.1(d) and Exclusion of Time, filed by the parties in this matter on March 25, 2020.
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     The Court hereby finds that the Stipulation, which this Court incorporates by reference into this Order,
18
     demonstrates good cause for an extension of time for the preliminary hearing date pursuant to Rule
19
     5.1(d) of the Federal Rules of Criminal Procedure.
20
            Furthermore, for the reasons set forth in the parties’ stipulation, the Court finds that the interests of
21
     justice served by granting this continuance outweigh the best interests of the public and the defendant in a
22
     speedy trial. 18 U.S.C. § 3161(h)(7)(A). The Court further finds that the extension of time would not
23
     adversely affect the public interest in the prompt disposition of criminal cases.
24
            THEREFORE, FOR GOOD CAUSE SHOWN:
25
            1. The date of the preliminary hearing is extended to April 29, 2020, at 2:00 p.m.
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            2. The time between March 30, 2020, and April 29, 2020, shall be excluded from calculation
27
                pursuant to 18 U.S.C. § 3161(h)(7)(A).
28



     FINDINGS AND ORDER
30
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1
           3. Defendants shall appear at that date and time before the Magistrate Judge on duty.
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3    IT IS SO ORDERED.
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        Dated:   March 26, 2020                            /s/
5                                                   UNITED STATES MAGISTRATE JUDGE
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     FINDINGS AND ORDER
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